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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF IOWA


UNITED STATES OF AMERICA,                       )
                                                )
       Plaintiff,                               )   Criminal No. 3:07-cr-634
                                                )
       v.                                       )
                                                )   ENHANCEMENT INFORMATION
ANDRELL THOMAS SANDERS,                         )   AND NOTICE OF PRIOR
    aka Q,                                      )   CONVICTION(S)
                                                )
       Defendant.                               )




       COMES NOW the United States of America, by and through the undersigned Special

Assistant United States Attorney, pursuant to Title 21, United States Code, Section 851(a)(1),

and hereby notifies defendant, ANDRELL THOMAS SANDERS, aka Q, that he is subject to an

increased penalty pursuant to Title 21, United States Code, Sections 846 and 841(b)(1)(A),

because of one or more prior felony drug convictions, to wit:



       1. On or about April 25, 2005, Defendant was sentenced for a drug felony in the Circuit

Court of Cook County, Illinois, in case number 05CR784, Possession of Controlled Substance.

Defendant was sentenced to 30 months probation.

       2. On or about May 13, 2004, Defendant was sentenced for a drug felony in the Circuit

Court of Cook County, Illinois, in case number 03CR138702, Possession of a Controlled

Substance. Defendant was sentenced to one year imprisonment with the Illinois Department of

Corrections.
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       3. On or about February 27, 2003, Defendant was sentenced for a drug felony in the

Circuit Court of Cook County, Illinois, in case number 02CR30703, Possession of a Controlled

Substance. Defendant was sentenced to 24 months probation.




                                                     Respectfully Submitted,

                                                     Matthew G. Whitaker
                                                     United States Attorney


                                               By /s/ Melisa Zaehringer
                                                  Melisa Zaehringer
                                                  Special Assistant United States Attorney
                                                  United States Courthouse, Ste 310
                                                  131 E. 4th Street
                                                  Davenport, Iowa 52801
                                                  Tel: (563) 449-5432
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                                 CERTIFICATE OF SERVICE

        The undersigned certifies that the foregoing document was served upon all counsel of
record and pro se parties by electronic service by filing this document with the Clerk of Court
using the ECF system on April 1, 2008, which will send notification to the following:

       Michael Galvin




                                                     /s/ Melisa Zaehringer
                                                     United States Attorney’s Office
                                                     Southern District of Iowa
